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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO




JOSE SEDA-MARTINEZ, YASMIN
RAMIREZ-RODRIGUEZ,
and their conjugal partnership
                                                      Civil No. 18-1975 (DRD)
Plaintiffs,

v.

NATIONAL UNIVERSITY COLLEGE,
TRIPLE S INSURANCE COMPANY,
INSURANCE           COMPANY          ABC,
CORPORATION DEF, JOHN DOE, JANE
DOE, and their conjugal partnership.

Defendants,



                                          JUDGMENT

       Pursuant to Plaintiffs’ Motion to Dismiss Complaint with Prejudice (Docket No. 93), the

Court hereby enters a final judgment DISMISSING PLAINTIFFS’ COMPLAINT WITH

PREJUDICE. Furthermore, the Court retains jurisdiction for the sole purpose of resolving any

controversies related to -and/or enforcing- the provisions of settlement agreement that lead to the

conclusion of the instant case.

       THIS     CASE      IS      NOW   CLOSED      FOR     ALL     ADMINISTRATIVE           AND

STATISTICAL PURPOSES. IT IS SO ORDERED.

       In San Juan, Puerto Rico, September 8, 2020.



                                                            S/Daniel R. Domínguez
                                                            Daniel R. Domínguez
                                                            United States District Judge
